              Case 2:15-cr-00209-JAM Document 136 Filed 06/23/16 Page 1 of 1

 1                               IN THE UNITED STATES DISTRICT COURT

 2                                  EASTERN DISTRICT OF CALIFORNIA

 3
     UNITED STATES OF AMERICA,                          CASE NO. 2:15-CR-209 GEB
 4
                                  Plaintiff,             ORDER SEALING DOCUMENTS REFERENCED
 5                                                      IN GOVERNMENT’S NOTICE
                            v.
 6
     IONEL PASCAN,
 7

 8
                                 Defendant.
 9

10

11          IT IS HEREBY ORDERED that the document filed in connection with defendant Ionel Pascan’s

12 entry of guilty plea and the Government’s Request to Seal shall be SEALED until further order of a

13 federal Court.

14          It is further ordered that access to the sealed documents shall be limited to the government and

15 counsel for defendant Pascan.

16          The Court finds that, for the reasons stated in the Government’s referenced request, sealing the

17 aforementioned documents serves a compelling interest, and that in the absence of closure, the

18 compelling interests identified by the Government would be harmed, and that there are no additional

19 alternatives to sealing these documents that would adequately protect the compelling interests identified

20 by the Government.

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     Dated: June 22, 2016
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      [PROPOSED] ORDER SEALING DOCUMENTS AS SET          1
30    FORTH IN GOVERNMENT’S NOTICE
